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                                                              December 24, 2020
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  9                          UNITED STATES DISTRICT COURT
 10                        CENTRAL DISTRICT OF CALIFORNIA
 11
 12   PETER NICHOLAS, an                              Case No. 2:20-CV-01861-PSG-KSx
      individual;
 13
                     Plaintiff,
 14
            vs.                                       ORDER GRANTING JOINT
 15                                                   STIPULATION
 16                                                   DISMISSING ACTION
      DURHAM SCHOOL SERVICES,
                                                      WITH PREJUDICE
 17   L.P., a Delaware limited
      partnership; and DOES 1 through                 [FED. R. CIV. P. 41(A)]
 18
      50, inclusive;
 19                                                   Complaint Filed:        January 23, 2020
                     Defendants.
 20
 21
 22         Plaintiff PETER NICHOLAS (“Plaintiff”) and Defendants DURHAM
 23   SCHOOL SERVICES, L.P. (“Defendants”) (collectively, the “Parties”)
 24   submitted a Joint Stipulation Dismissing Action with Prejudice.
 25         The Court, having read and considered the Parties’ Joint Stipulation
 26   Dismissing Action with Prejudice, and good cause appearing therefor,
 27         IT IS HEREBY ORDERED THAT:
 28               1. Plaintiff’s Complaint and this entire action is dismissed with prejudice


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         ORDER GRANTING JOINT STIPULATION DISMISSING ACTION
                          WITH PREJUDICE
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